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IN THE UNITED sTATEs DISTRICT CoURT
FOR THE WESTERN DISTRICT oF TENNESSEE 05 AUG 23 AH 6= 53

WESTERN DIvIsIoN
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UNITED sTATEs 0F AM;ERICA, * QERK, US. n!S-THJGTCOUHT
W/l) E"F `_?~\.'_ tit_`-‘~»$PH£S
Plaintiff, *
v. * Cr. No. 05-20307-D
ELAINE F. JACOBY, *
Defendant. *

 

ORDER GRANTING DEFENDANT'S MOTION TO WAIVE
APPEARANCE AT ARRAIGNMENT

 

For good cause shown, the Defendant’s request to waive her appearance at the arraignment
set in this case for Wednesday, August 24, 2005, at 9:30 a.rn. is hereby GRANTED. The Defendant
shall not be required to appear at the above arraignment and shall remain on her present bond.

lt is so ORDERED.

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H orable Berni e Donald
'ted States Dist:rict Judge

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Honorable Bernice Donald
US DISTRICT COURT

